      Case 1:25-cv-00677-DLF          Document 30   Filed 04/07/25    Page 1 of 30




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




CENTRO DE TRABAJADORES
UNIDOS, et al.,

           Plaintiffs,

             v.                               Civil Action No. 25-677 (DLF)

SCOTT BESSENT, in his official
capacity as Secretary of the Treasury, et
al.,

           Defendants.



       DEFENDANTS’ JOINT OPPOSITION TO PLAINTIFFS’ MOTION FOR
              PRELIMINARY INJUNCTION AND MOTION TO
                 DISMISS THE AMENDED COMPLAINT
          Case 1:25-cv-00677-DLF                            Document 30                 Filed 04/07/25               Page 2 of 30




                                                       TABLE OF CONTENTS


TABLE OF AUTHORITIES ......................................................................................................... iii
INTRODUCTION .......................................................................................................................... 1
FACTUAL AND LEGAL BACKGROUND ................................................................................. 2
   I.         Tax Return Information and Disclosure ............................................................................. 2
   II.        Factual Background ............................................................................................................ 4
   III.          Procedural History .......................................................................................................... 5
   IV.           Standards for Preliminary Injunction .............................................................................. 6
ARGUMENT .................................................................................................................................. 7
   I.         Plaintiffs Cannot Succeed on the Merits of the Claim ........................................................ 7
         A.      Standing .......................................................................................................................... 7
         B.      No Cause of Action Under APA ................................................................................... 15
         C.      Equitable Relief is Inappropriate .................................................................................. 18
   II.        There Is No Irreparable Harm ........................................................................................... 19
   III.          Balance of the Equities and Public Interest .................................................................. 19
   IV. The Court Should Limit Any Preliminary Injunction to the Plaintiffs and their Members ..
       …………………………………………………………………………………………... 20
   V.         The Government is Entitled to a Bond if a Preliminary Injunction is Issued. .................. 22
Motion to Dismiss ......................................................................................................................... 23
CONCLUSION ............................................................................................................................. 24




                                                                          ii
          Case 1:25-cv-00677-DLF                       Document 30               Filed 04/07/25             Page 3 of 30




                                               TABLE OF AUTHORITIES

Cases
AFL-CIO v. Dep’t of Labor,
  --- F. Supp. 3d ---, 2025 ............................................................................................................ 9
Am. Library Ass’n v. FCC,
  401 F.3d 489 (D.C. Cir. 2005) .................................................................................................. 8
Am. Soc. for Prevention of Cruelty to Animals v. Feld Entm’t Inc.,
  659 F.3d 13 (D.C. Cir. 2011) .................................................................................................... 7
Ardestani v. I.N.S.,
   502 U.S. 129 (1991) ............................................................................................................... 18
Arpaio v. Obama,
   797 F.3d 11 (D.C. Cir. 2015) .................................................................................................. 10
Ariz. All. for Retired Ams. v. Mayes,
   117 F.4th 1165 (9th Cir. 2024) ............................................................................................... 12
Bernstein v. Kerry,
   962 F. Supp. 2d 122 (D.D.C. 2013) ........................................................................................ 11
Bowen v. Massachusetts,
  487 U.S. 879 (1988) ............................................................................................................... 17
Boynes v. Limetree Bay Ventures, LLC,
   110 F.4th 604 (3d Cir. 2024) .................................................................................................. 22
Califano v. Yamasaki,
   442 U.S. 682 (1979) ......................................................................................................... 21-22
Church of Scientology v. IRS,
  484 U.S. 9 (1987) ..................................................................................................................... 2
Citizens for Responsibility & Ethics in Washington v. DOJ,
   846 F.3d 1235 (D.C. Cir. 2017) .............................................................................................. 17
Clapper v. Amnesty Int’l USA,
   568 U.S. 398 (2013) ............................................................................................................... 10
Dalton v. Specter,
  511 U.S. 462 (1994) ............................................................................................................... 18
Davis v. FEC,
  554 U.S. 724 (2008) ........................................................................................................... 7, 23
Delta Sigma Theta Sorority, Inc. v. Allen Professional Graphics Grp., LLC,
   212 F. Supp. 3d 116 (D.D.C. 2014) ........................................................................................ 22

                                                                    iii
          Case 1:25-cv-00677-DLF                      Document 30               Filed 04/07/25             Page 4 of 30




Delta Sigma Theta Sorority, Inc. v. Bivins,
   215 F. Supp. 3d 17 (D.D.C. 2013) .......................................................................................... 22
Dep’t of Homeland Sec. v. New York,
  140 S. Ct. 599 (Jan. 27, 2020) ................................................................................................ 22
Elec. Privacy Info. Ctr. v. United States Dep’t of Commerce
   (EPIC), 928 F.3d 95–01 (D.C. Cir. 2019) .......................................................................... 7, 15
Fair Employment Council of Greater Washington, Inc. v. BMC Mktg. Corp.,
   28 F.3d 1268 (D.C. Cir. 1994) ................................................................................................ 13
FDA v. All. for Hippocratic Med.,
  602 U.S. 367 (2024) ............................................................................................................... 12
FDIC v. Bank of Am., N.A.,
  308 F. Supp. 3d 197 (D.D.C. 2018) ........................................................................................ 18
Food & Water Watch, Inc. v. Vilsack,
  808 F.3d 905 (D.C. Cir. 2015) ............................................................................................ 7, 10
Fund for Animals, Inc. v. U.S. Bureau of Land Mgmt.,
  460 F.3d 13 (D.C. Cir. 2006) .................................................................................................. 16
Gill v. Whitford,
   585 U.S. 48 (2018) ................................................................................................................. 20
Hansen v. Dept. of Treasury,
  528 F.3d 597 (9th Cir. 2007) .................................................................................................... 4
Hanson v. Smith,
  120 F.4th 223 (D.C. Cir. 2024) ................................................................................................ 6
Havens Realty Corp. v. Coleman,
  455 U.S. 363 (1982) ......................................................................................................... 12, 13
Indep. Equip. Dealers Ass’n v. EPA,
   372 F.3d 420 (D.C. Cir. 2004) ................................................................................................ 15
Iowaska Church of Healing v. Werfel,
   105 F.4th 402 (D.C. Cir. 2024) .............................................................................................. 13
Kareem v. Haspel,
  986 F.3d 859 (D.C. Cir. 2021) ................................................................................................ 23
Lehrfeld v. Richardson,
   132 F.3d 1463 (D.C. Cir. 1998) ................................................................................................ 2
Lewis v. Casey,
   518 U.S. 343 (1996) ......................................................................................................... 20, 21


                                                                   iv
          Case 1:25-cv-00677-DLF                      Document 30               Filed 04/07/25             Page 5 of 30




Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) ........................................................................................................... 7, 13
Madsen v. Women’s Health Ctr., Inc.,
  512 U.S. 753 (1994) ............................................................................................................... 21
Murthy v. Missouri,
  603 U.S. 43–46 (2024) ........................................................................................................... 10
NLRB v. Express Pub. Co.,
  312 U.S. 426 (1941) ............................................................................................................... 19
NTEU v. United States,
  101 F.3d 1423 (D.C. Cir. 1996) .............................................................................................. 13
Obama v. Klayman,
  800 F.3d 559 (D.C. Cir. 2015) .................................................................................................. 7
P.J.E.S. v. Wolf,
   502 F. Supp. 3d 492 (D.D.C. 2020) ........................................................................................ 22
Perry Capital LLC v. Mnuchin,
   864 F.3d 591 (D.C. Cir. 2017) ................................................................................................ 17
Public Citizen, Inc. v. NHTSA,
  513 F.3d 234 (D.C. Cir. 2008) .................................................................................... 10, 11, 12
Sierra Club v. Trump,
   929 F.3d 670 (9th Cir. 2019) .................................................................................................. 18
Simon v. Eastern Ky. Welfare Rights Org.,
   426 U.S. 26 (1976) ................................................................................................................. 13
Singh v. Berger,
   56 F.4th 88 (D.C. Cir. 2022) .................................................................................................... 6
Summers v. Earth Island Inst.,
  555 U.S. 488 (2009) ................................................................................................................. 9
Syncor Int’l Corp. v. Shalala,
   127 F.3d 90 (D.C. Cir. 1997) ............................................................................................ 16, 17
United States Army Corps of Eng’rs v. Hawkes Co.,
  578 U.S. 590 (2016) ............................................................................................................... 15
Valley Forge Christian Coll. v. Americans United for Separation of Church & State, Inc.,
   454 U.S. 464 (1982) ................................................................................................................ 11
Vill. of Bald Head Island v. Army Corp of Eng’rs,
    714 F.3d 186 (4th Cir. 2013) ............................................................................................ 15, 16


                                                                    v
          Case 1:25-cv-00677-DLF                         Document 30                 Filed 04/07/25               Page 6 of 30




Waite v. Macy,
  246 U.S. 606 (1918) ............................................................................................................... 19
Whitmore v. Arkansas,
  495 U.S. 149 (1990) ............................................................................................................... 10

Statutes
5 U.S.C. § 551 ........................................................................................................................ 15, 16
5 U.S.C. § 553 .............................................................................................................................. 16
5 U.S.C. § 702 .............................................................................................................................. 15
5 U.S.C. § 704 .............................................................................................................................. 15
8 U.S.C. § 1253 .................................................................................................................... 1, 8, 19
8 U.S.C. § 1326 .......................................................................................................................... 1, 8
26 U.S.C. § 501 ...................................................................................................................... 13, 14
26 U.S.C. § 6103 .............................................. 1, 2, 3, 5, 6, 8, 9, 10, 11, 15, 16, 17, 19, 20, 21, 23
26 U.S.C. § 6109 ............................................................................................................................ 4
26 U.S.C. § 7431 .................................................................................................... 2, 17, 18, 19, 23
26 U.S.C. § 7213 ............................................................................................................................ 2

Treasury Regulations
26 C.F.R. § 301.6103 ................................................................................................................. 3, 4
26 C.F.R. § 301.6109-1 .............................................................................................................. 4, 5
26 C.F.R. § 6103 ............................................................................................................................ 4

IRS Documents
Form W-7 ....................................................................................................................................... 4
IRS Publication 1075 ................................................................................................................. 4, 5




                                                                       vi
       Case 1:25-cv-00677-DLF          Document 30        Filed 04/07/25      Page 7 of 30




                                       INTRODUCTION

       Section 6103 of the Internal Revenue Code generally restricts the IRS from disclosing

any tax return information. However, adherence to Section 6103 includes properly applying its

numerous exceptions, such as Section 6103(i)(2), which requires the IRS to disclose certain

information to criminal investigators when it receives a proper request. Plaintiffs, four immigrant

rights advocacy groups, have filed suit to stop a plan they anticipate may result in the IRS

unlawfully providing tax return information to the Department of Homeland Security (“DHS”)

and U.S. Immigration and Customs Enforcement (“ICE”). They now seek a preliminary

injunction commanding the IRS to follow their flawed interpretation of Section 6103(i)(2) and

prohibiting DHS and ICE from using any return information received from the IRS. ECF No. 28.

But this case presents no such harm.

       The Memorandum of Understanding (“MOU”) signed by the Department of the Treasury

and DHS reiterates the agencies’ commitment to sharing information only in the way that

Section 6103 permits and includes clear guardrails to ensure compliance with Section 6103.

Some statutes impose criminal penalties for immigration-related offenses. See, e.g., 8 U.S.C.

§ 1253(a)(1)(A) (certain aliens who willfully remain in the United States for over 90 days after a

final removal order is issued can be imprisoned for up to four years); 8 U.S.C. § 1326(a) (an

alien who illegally reenters the United States can be imprisoned for up to two years). As laid out

in the MOU, DHS can legally request return information relating to individuals under criminal

investigation, and the IRS must provide it. Plaintiffs cannot show any irreparable harm

proximately caused by the Defendants necessitating a preliminary injunction, because the

conduct expressly contemplated in the MOU and at issue in Plaintiff’s Amended Complaint—

providing information to assist criminal investigations—is lawful.



                                                 1
       Case 1:25-cv-00677-DLF              Document 30        Filed 04/07/25      Page 8 of 30




           Furthermore, Plaintiffs cannot establish a likelihood of success on their ultimate relief

because they lack standing under Article III, they have failed to state a cause of action under the

Administrative Procedure Act (“APA”), and there is no legal mechanism for them to seek “non-

statutory review.”

           Thus, the Court should deny Plaintiffs’ motion for a preliminary injunction and dismiss

this case.

                             FACTUAL AND LEGAL BACKGROUND

      I.      Tax Return Information and Disclosure

           Section 6103 of the Internal Revenue Code sets forth the general rule “that ‘returns’ or

‘return information’ as defined therein shall be confidential.” Church of Scientology v. IRS, 484

U.S. 9, 10 (1987); see also 26 U.S.C. § 6103(a). “Congress has defined ‘return information’

broadly.” Lehrfeld v. Richardson, 132 F.3d 1463, 1463-64 (D.C. Cir. 1998). It includes a

taxpayer’s identity; whether the taxpayer’s return is subject to examination or other investigation

or processing; and “any other data, received by, recorded by, prepared by, furnished to, or

collected by the Secretary with respect to a return or with respect to the determination of the

existence, or possible existence, of liability” under the Internal Revenue Code. 26 U.S.C.

§ 6103(b)(2)(A). Section 7431 expressly creates the sole civil cause of action for violations of

Section 6103 committed by United States officers or employees. 26 U.S.C. § 7431(a)(1). The

willful unauthorized disclosure and inspection of tax return information also carry criminal

penalties. See 26 U.S.C. §§ 7213 (unauthorized disclosure), 7213A (unauthorized inspection).

           At the same time, Section 6103 contains numerous exceptions to the disclosure

prohibition, including some that require disclosure of information. See 26 U.S.C. §§ 6103(c)-(o).

The exception relevant here is Section 6103(i)(2). Under the exception, the IRS must provide

requested return information to officers and employees of the requesting agency “who are

                                                     2
       Case 1:25-cv-00677-DLF           Document 30        Filed 04/07/25      Page 9 of 30




personally and directly engaged in” preparation for a criminal proceeding; an investigation that

may result in a proceeding; or a federal grand jury proceeding. See § 6103(i)(2)(A) (cross-

referencing § 6103(i)(1)(A)(i, iii)); 26 C.F.R. § 301.6103(i)-1(a). The agency must make a

request that includes the following: (1) the taxpayer’s name and address; (2) the relevant taxable

periods; (3) the statutory authority for the criminal investigation; and (4) the reasons the tax

return information is relevant to the investigation. See § 6103(i)(2)(A)–(B). The disclosure must

be “solely for the use of” the officers and employees “personally and directly engaged in” the

criminal investigation or proceeding. § 6103(i)(2)(A). And even then, the IRS must only

“disclose return information (other than taxpayer return information).” § 6103(i)(2)(A). See also

§ 6103(b)(3) (defining “taxpayer return information”); § 6103(i)(2)(C) (explaining that for the

purposes of (i)(2), “a taxpayer's identity shall not be treated as taxpayer return information”).1

       Like the IRS, the agency receiving return information under Section 6103(i)(2) must

follow stringent safeguards for protecting the information. See 26 U.S.C. § 6103(p)(4). And

because the receiving agency is bound by Section 6103(a)’s confidentiality mandate,

redisclosures of return information must also be authorized under Section 6103. See

§ 6103(p)(4)(C); § 6103(p)(2)(B); 26 C.F.R. § 301.6103(p)(2)(B)-1. The receiving agency must

establish and maintain a system of records that tracks its requests and the return information it

receives. § 6103(p)(4)(A). The records must be securely stored and access must be restricted to

agency personnel whose duties require access and to whom disclosures may be made.

§ 6103(p)(4)(B), (C). And the IRS has issued detailed guidance that recipients of return



1
  This is one of the principal distinctions between Section 6103(i)(1), which requires a court
order but generally permits investigators to obtain “any return or return information,”
§ 6103(i)(1)(A), and Section 6103(i)(2), which does not require a court order but does not allow
investigators to obtain certain information.

                                                  3
      Case 1:25-cv-00677-DLF              Document 30       Filed 04/07/25      Page 10 of 30




information must follow. See 26 C.F.R. § 6103(p)(4)-1; IRS Pub. 1075, Tax Information Security

Guidelines (Nov. 2021), available at https://www.irs.gov/pub/irs-pdf/p1075.pdf (last visited Apr.

7, 2025), permalinked at https://perma.cc/WSK5-FLVH. For instance, return information must

be stored in a system that prevents unauthorized access and permits regular audits to ensure

unauthorized access does not occur. Pub. 1075 at 50, 104. If return information is commingled in

a file with information obtained from elsewhere, the entire file must be secured. See id. at 55.

The return information must be returned or destroyed after it is used. See § 6103(p)(4)(F)(ii).

And if the IRS determines that a receiving agency is not meeting these requirements, it can

terminate the agency’s access to return information. See § 6103(p)(7); 26 C.F.R.

§ 301.6103(p)(7)-1.

           Plaintiffs allege that the IRS “will seek to transmit” tax return information for immigrants

“who are subject to removal.” ECF No. 17 ¶ 35. See also id. ¶ 38. The IRS issues Individual

Taxpayer Identification Numbers (ITINs) to alien taxpayers “for use in connection with filing

requirements” under the Internal Revenue Code. 26 C.F.R. § 301.6109-1(d)(3)(i); see also 26

U.S.C. § 6109(i); Hansen v. Dept. of Treasury, 528 F.3d 597 (9th Cir. 2007). A taxpayer must

submit a Form W-7 to apply for an ITIN. See 26 C.F.R. § 301.6109-1(d)(3)(ii). The Form W-7

asks for information including an applicant’s mailing and foreign address, country of citizen,

type of United States visa, and date of entry into the United States. See id.; Form W-7,

Application for IRS Individual Taxpayer Identification Number (Dec. 2024), available at

https://www.irs.gov/pub/irs-pdf/fw7.pdf (last visited Apr. 7, 2025), permalinked at

https://perma.cc/2MRX-B7X3.

     II.      Factual Background

           On April 7, 2025, DHS and the Department of Treasury executed a Memorandum of

Understanding (“MOU”) to create a framework for information sharing between the agencies.

                                                    4
        Case 1:25-cv-00677-DLF          Document 30        Filed 04/07/25     Page 11 of 30




See Declaration of Kathleen Evey Walters ¶ 3, attached as Exhibit A. The MOU governs

requests submitted by DHS or ICE for return information (other than taxpayer return

information) under Section 6103(i)(2). Id.; MOU ¶¶ 1, 3.2 Under the MOU, the IRS will only

disclose the return information to DHS or ICE if the requirements of Section 6103(i)(2) are met.

See MOU ¶ 1(e). If the IRS determines that the request meets the requirements for disclosure set

forth in Section 6103(i)(2), the IRS will release the requested information to DHS or ICE. Id. ¶¶

3, 5(B), 6(B). Because DHS or ICE will make the request under the MOU under Section

6103(i)(2), the IRS is not authorized to release taxpayer return information (as defined in Section

6103(b)(3)). Id. ¶ 2. DHS and ICE must safeguard any return information disclosed by the IRS in

compliance with the requirements of Section 6103(p)(4) and in accordance with the standards

established in IRS Publication 1075. Id. ¶ 9(A). As of April 7, 2025, no information has been

provided by the IRS to DHS. See Walters Decl. ¶ 4. Between March 17, 2025, and April 7, 2025,

the IRS has not received any requests for taxpayer information from DHS or ICE and has not

provided any return information to DHS or ICE. Id. ¶ 5.

      III.   Procedural History

         Plaintiffs filed this suit on March 7, 2025, raising a claim under the Administrative

Procedure Act (APA). ECF No. 1 ¶ 37. They also claimed a “non-statutory right of action to

enjoin and declare unlawful official action that is ultra vires.” ECF No. 1 ¶ 42. Plaintiffs moved

for a temporary restraining order on March 14, 2025. ECF No. 11. That same day, the Court

ordered Defendants to file opposition to the motion by March 17, 2025, and scheduled a hearing

on Plaintiffs’ motion for March 19, 2025. The United States opposed Plaintiffs’ motion and




2
    Law enforcement sensitive material in the MOU has been redacted.

                                                  5
        Case 1:25-cv-00677-DLF          Document 30         Filed 04/07/25      Page 12 of 30




moved to dismiss the complaint. ECF No. 14. At the hearing, the Court denied the motion for a

temporary restraining order and ordered Plaintiffs to respond to the motion to dismiss. ECF No.

16.

         On March 26, 2025, Plaintiffs filed an amended complaint, adding two new Plaintiffs and

the Department of Homeland Security (“DHS”) and Immigration and Customs Enforcement

(“ICE”) as Defendants.3 ECF No. 17. Plaintiffs raise five causes of action—three under the APA,

and two seeking “non-statutory review.” Id. ¶¶ 62–83. On March 31, 2025, the Plaintiffs moved

for a preliminary injunction because “a deal between the IRS and DHS is imminent, and under

that deal, the IRS will provide taxpayer address information to ICE for the ostensible purpose of

enforcing criminal immigration laws.” ECF No. 28-1.

      IV.        Standards for Preliminary Injunction

         To show entitlement to a preliminary injunction, a plaintiff must demonstrate: “(1) ‘he is

likely to succeed on the merits,’ (2) ‘he is likely to suffer irreparable harm in the absence of

preliminary relief,’ (3) ‘the balance of equities tips in his favor,’ and (4) issuing ‘an injunction is

in the public interest.’” Hanson v. Smith, 120 F.4th 223, 231 (D.C. Cir. 2024) (quoting Winter v.

Nat. Res. Def. Council, 555 U.S. 7, 22 (2008)). Preliminary injunctions are intended to be a

“stopgap measure [to]…preserve the relative positions of the parties” while the final disposition

of a case is pending. Singh v. Berger, 56 F.4th 88, 95 (D.C. Cir. 2022) (quoting Sherley v.

Sebelius, 689 F.3d 776, 781–82 (D.C. Cir. 2012)).




3
    Defendants’ first motion to dismiss was rendered moot by the filing of the amended complaint.

                                                   6
      Case 1:25-cv-00677-DLF              Document 30        Filed 04/07/25      Page 13 of 30




                                             ARGUMENT

Response to Motion for a Preliminary Injunction

      I.      Plaintiffs Cannot Succeed on the Merits of the Claim

           Plaintiffs’ request for a preliminary injunction should be denied because they cannot

prevail on the merits of their claim. Plaintiffs lack standing to bring this suit and cannot plead a

cognizable claim under the APA.

                  A. Standing

           A party seeking a preliminary injunction “must show a ‘substantial likelihood of

standing’” to demonstrate entitlement to relief. Food & Water Watch, Inc. v. Vilsack, 808 F.3d

905, 913 (D.C. Cir. 2015) (quoting Obama v. Klayman, 800 F.3d 559, 565 (D.C. Cir. 2015)).

           Under Article III, “a claimant must present an injury that is concrete, particularized, and

actual or imminent; fairly traceable to the defendant’s challenged behavior; and likely to be

redressed by a favorable ruling.” Davis v. FEC, 554 U.S. 724, 733 (2008) (citing Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)). An organization can have standing on

behalf of itself or its members. See Elec. Privacy Info. Ctr. v. United States Dep’t of Commerce

(EPIC), 928 F.3d 95, 100–01 (D.C. Cir. 2019). For an organization to have direct standing, it

must show “a concrete and demonstrable injury to [its] activities that is more than simply a

setback to the organization’s abstract social interests.” Id. at 100 (quoting Am. Soc. for

Prevention of Cruelty to Animals v. Feld Entm’t Inc., 659 F.3d 13, 25 (D.C. Cir. 2011)).

Alternatively, an association can have associational standing representing its members if: “(1) at

least one of [its] members has standing to sue in her or his own right, (2) the interests the

association seeks to protect are germane to its purpose, and (3) neither the claim asserted nor the

relief request requires the participation of an individual member in the lawsuit.” EPIC, 928 F.3d



                                                    7
      Case 1:25-cv-00677-DLF             Document 30      Filed 04/07/25       Page 14 of 30




at 101 (quoting Am. Library Ass’n v. FCC, 401 F.3d 489, 492 (D.C. Cir. 2005)). Neither type of

standing exists here.

       Plaintiffs have failed to identify whether any of their individual members is under

criminal investigation and therefore come within the class of individuals whose return

information might be disclosed under the MOU and Section 6103(i)(2). Even if one of their

declarants is, Plaintiffs can only speculate that the particular declarant’s information will be

disclosed at some point in the future.

       Critically, even if the information is disclosed, it is not a cognizable harm because the

disclosure is lawful. As explained in detail above, the IRS must disclose return information

(other than taxpayer return information) to officers of another agency who are personally and

directly engaged in a criminal investigation if the head of the agency makes an adequate written

request. See 26 U.S.C. § 6103(i)(2). Depending on their individual status and conduct, aliens can

be prosecuted for immigration crimes. See, e.g., 8 U.S.C. § 1253(a)(1)(A) (certain aliens who

willfully remain in the United States for over 90 days after a final removal order is issued can be

imprisoned for up to four years); 8 U.S.C. § 1326(a) (an alien who illegally reenters the United

States after a lawful order of removal can be imprisoned for up to two years). Thus, even if one

of Plaintiff’s members falls into the class of people who might have their information requested,

and even if that member’s information is in fact requested, neither the member nor any Plaintiff

has suffered cognizable harm.

                 1. Plaintiffs Lack Associational Standing Because They Have not Established
                    that Any Particular Member Has Standing

       Plaintiffs Centro de Trabajadores Unidos (“CTU”), Immigrant Solidarity DuPage

(“ISD”), and Somos Un Pueblo Unido (“Somos”) all claim associational standing. See ECF No.

28-1 at9–12. But they have failed to demonstrate that at least one of their members has standing


                                                  8
      Case 1:25-cv-00677-DLF            Document 30        Filed 04/07/25      Page 15 of 30




in his or her own right. As this Court recently explained, an organization seeking associational

standing “must point to a particular member and establish she would have standing if she were a

plaintiff herself.” AFL-CIO v. Dep’t of Labor, --- F. Supp. 3d ---, 2025 WL 543938, at *3

(D.D.C. Feb. 7, 2025). See also Summers v. Earth Island Inst., 555 U.S. 488 (2009) (a showing

of a statistical probability a member will be injured is not enough to confer standing). CTU and

ISD have provided declarations from anonymous members, but each declaration fails to establish

that the specific member will be harmed by the MOU or information exchanged under the MOU.

Somos did not provide such a declaration, and it should be denied associational standing on that

ground alone, as well as for the reasons below.

       First, the MOU only permits the lawful exchange of information for taxpayers who are

under criminal investigation or subject to a criminal proceeding. See MOU ¶ 6(C)(3). See also 26

U.S.C. § 6103(i)(2). No declarant suggests that they have committed a crime, much less that they

are under criminal investigation. See generally ECF No. 28-9 (declaration of Jane Doe, CTU

member); ECF No. 28-10 (declaration of John Doe, ISD member); ECF No. 28-11 (declaration

of James Doe, ISD member).

       Second, even if those members might have committed a crime that means they might be

subject to criminal immigration proceedings, any future harm to the member from disclosure of

return information based on the MOU’s framework is too speculative to confer standing.4 The

core harm to their members that Plaintiffs identify is an increase in the risk of removal from the

United States. See ECF No. 28-6 ¶¶ 5-6; ECF No. 28-7 ¶¶ 5-6; ECF No. 28-8 ¶¶ 5–6. But that is



4
  Some of Somos’s clients are under a final order of removal and file tax returns. ECF No. 28-8
¶ 9. It is still speculation to suppose that any of those clients will be criminally investigated and
that their information will be requested under the MOU—if the lawful exchange of information
can be called a harm at all.

                                                  9
      Case 1:25-cv-00677-DLF          Document 30        Filed 04/07/25      Page 16 of 30




conjecture. Accepting it would require the Court to assume a future series of events in which (1)

DHS requests that specific member’s information from the IRS; (2) disclosure of the requested

information would be illegal; (3) the IRS decides to disclose the information anyway in

contravention of the MOU and Section 6103; (4) access to the information substantially

increases the risk of removal beyond what existed from the information DHS already had; and

(5) including that increase, the member has a substantial probability for removal. See Public

Citizen, Inc. v. NHTSA, 513 F.3d 234, 237 (D.C. Cir. 2008) (standard for increased-risk-of-harm

standing). This “speculative chain of possibilities does not establish” that any cognizable harm

“is certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 (2013). See also

Food & Water Watch, 808 F.3d at 913 (quoting Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir.

2015) (“When considering any chain of allegations for standing purposes, we may reject as

overly speculative those links which are predictions of future events (especially future actions to

be taken by third parties).”).

                  2. Plaintiffs Lack Direct Organizational Standing Because They Have Failed
                     to Allege a Concrete, Particularized Imminent Injury

       Only Plaintiff Inclusive Action for the City (“IAC”) claims organizational standing. See

ECF No. 28-1, pg. 11. It lacks standing because it cannot show an injury traceable to any action

by Defendants. A plaintiff can establish standing by showing “a substantial risk of future injury

that is traceable to the Government defendants and likely to be addressed by an injunction

against them.” Murthy v. Missouri, 603 U.S. 43, 45–46 (2024). A potential future injury creates

standing only if it is “certainly impending.” Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)

(internal citations omitted). Standing based on an increased risk of future harm requires “both (i)

a substantially increased risk of harm and (ii) a substantial probability of harm with that increase

taken into account.” Public Citizen, 513 F.3d at 237–38 (internal citations omitted).


                                                10
      Case 1:25-cv-00677-DLF          Document 30        Filed 04/07/25     Page 17 of 30




       IAC is a “certified Community Development Financial Institution” that has directly

provided microloans and grants to its Los Angeles-area clients, who include individuals who use

ITINs. Id.; ECF No. 28-12 ¶¶ 2-3. IAC claims that if the IRS provides DHS and ICE with return

information for ITIN holders, some potential clients will be discouraged from applying for ITINs

and paying federal taxes, which will then harm IAC by “reduc[ing] demand for [its] services and

potentially increase default rates from existing businesses.” ECF No. 28-1 at 11–12. See also

ECF 28-12 ¶¶ 8-9.

       IAC’s claim for standing is based on its clients’ “understand[ing] that the Tax Code

protects them from having the information that they provide to the IRS disclosed to people

outside the IRS, including to those working for other parts of the federal government.” ECF No.

28-12 ¶ 6. See also id. ¶ 7. But as explained above, while Internal Revenue Code provides strong

protection for taxpayer information, its disclosure limits are not absolute and never have been.

The MOU inflicts no cognizable harm on IAC. It only provides a technical framework for the

IRS to provide return information to DHS and ICE under 26 U.S.C. § 6103(i)(2)—lawfully.

Standing cannot be based on a plaintiff’s interest in seeing “the government following the law.”

Bernstein v. Kerry, 962 F. Supp. 2d 122 (D.D.C. 2013) (citing Valley Forge Christian Coll. v.

Americans United for Separation of Church & State, Inc., 454 U.S. 464, 482–83 (1982))

(Huvelle, J.). The IRS has always been required to provide return information if a valid request is

made under § 6103(i)(2), even without the MOU. The MOU simply establishes procedures and

guardrails for ensuring that such requests and subsequent transfers of information are handled

lawfully and securely. For DHS and ICE, Plaintiffs have not pointed to any evidence that

information will be misused. In short, IAC cannot show that the MOU or the lawful exchange of




                                                11
      Case 1:25-cv-00677-DLF            Document 30         Filed 04/07/25       Page 18 of 30




information under the MOU either substantially increases its risk of harm or that it has

substantial probability of harm as a result. See Public Citizen, 513 F.3d at 237-38.

        Plaintiffs also cannot assert organizational standing based on allegations that they have

diverted resources in response to their fear that IRS might share tax information with DHS. See

FDA v. All. for Hippocratic Med., 602 U.S. 367, 381 (2024). In Alliance for Hippocratic

Medicine, the Supreme Court clarified that it is “incorrect” that standing exists when “an

organization diverts its resources in response to a defendant’s actions.” Id. at 395. See also Ariz.

All. for Retired Ams. v. Mayes, 117 F.4th 1165, 1177 (9th Cir. 2024) (explaining that after

Hippocratic Medicine, an organization cannot rely on “the diversion of resources in response to a

policy to confer standing”). The Supreme Court stated, in particular, that its decision in Havens

Realty Corp. v. Coleman, 455 U.S. 363 (1982), was “an unusual case” whose holding should not

be extended “beyond its context.” All. for Hippocratic Med., 602 U.S.. at 396. In Havens Realty,

the Supreme Court held that a non-profit housing organization had standing based on allegations

that the defendants had provided false information to the housing organization's employees,

which “directly affected and interfered with [the organization’s] core business activities.” Id. at

395; see also Havens, 455 U.S. at 378-79. Nothing similar has occurred here. The MOU does not

interfere with IAC’s “core business activities”—it is just a framework for streamlining IRS

responses to lawful requests for information from DHS or ICE. Furthermore, the MOU does not

allow for unlawful activity by Defendants and, therefore, cannot directly conflict with IAC’s

mission. IAC provides loans to entrepreneurs, including immigrants. See ECF No. 28-12 ¶¶ 1-3,

9-10. Notably, it does not itself assist its clients to apply for ITINs or prepare their tax returns.

See id. ¶¶ 5-6. The MOU provides a framework for sharing data about taxpayers under criminal

investigation. See MOU ¶ 1. That is much less of a direct conflict than in other cases where



                                                  12
      Case 1:25-cv-00677-DLF            Document 30        Filed 04/07/25       Page 19 of 30




courts found standing: for instance, a fair housing nonprofit suing over violations of the Fair

Housing Act or a fair employment group suing over the discriminatory practices of an

employment agency. See NTEU v. United States, 101 F.3d 1423, 1428-29 (D.C. Cir. 1996)

(discussing and distinguishing Havens and Fair Employment Council of Greater Washington,

Inc. v. BMC Mktg. Corp., 28 F.3d 1268, 1270 (D.C. Cir. 1994), among other cases).

        That difference underlines a second problem with IAC’s standing claim. Even if IAC has

a concrete injury, it is not traceable to the Defendants’ conduct. IAC’s claimed injury, a

reduction in demand for its services and increased default rates, is based on the premise that

some potential clients, third parties to this case, will not apply for ITINs or file tax returns. An

injury caused by “the independent action of some third party not before the court” cannot be

traceable to the Defendants’ conduct. Lujan, 504 U.S. at 560 (quoting Simon v. Eastern Ky.

Welfare Rights Org., 426 U.S. 26, 41–42 (1976)). IAC’s argument is analogous to the plaintiff’s

position in Iowaska Church of Healing v. Werfel, 105 F.4th 402 (D.C. Cir. 2024). There, the

plaintiff sued the IRS over denial of its tax-exempt status under I.R.C. § 501(c)(3). Id. at 406. Its

standing argument rested in part on an alleged “economic injury in the form of lost income and

profits” because the denial of tax-exempt status allegedly “caused the Church to have no

membership income or contributions with which to carry on its programs for nearly three years.”

Id. at 410 (internal quotation marks omitted). The D.C. Circuit held that any injury was not

traceable to the IRS’s denial of tax-exempt status, but rested on the independent decisions of the

third-party donors not to contribute funds to the church. Id. at 413. Similarly, if IAC’s injury

occurs, it will rest on the decisions of its members and potential clients not to apply for ITINs,

not to file returns, or to close existing businesses.




                                                   13
      Case 1:25-cv-00677-DLF          Document 30        Filed 04/07/25     Page 20 of 30




       IAC has no injury that is traceable to the MOU or the exchange of information under the

MOU. It lacks organizational standing. And although they do not appear to assert it, so do the

other Plaintiffs. Plaintiff CTU describes itself as a “grassroots member-led community

organization and worker center serving Chicago’s southeast side and south suburbs.” ECF No.

28-6 ¶ 1. Its work includes “educating workers about their right to organize, sharing information

about leadership opportunities and legal rights in immigrant communities, assisting workers

see[k]ing to establish business cooperatives, and engaging local parents who wish to improve

community schools….” Id. Plaintiff ISD similarly “organizes with members in campaigns to

advance the dignity of workers” through community education and operating a community

center. ECF No. 28-7 ¶ 1. Plaintiff Somos is “an immigrant-led membership

organization…dedicated to advancing worker and racial justice…through education and legal

support, [including] engag[ing] in impact litigation to protect and expand workers’ rights….”

ECF No. 28-8 ¶ 1. And while CTU says that the risk of removal of its members “would increase

significantly” if DHS obtained return information, ECF No. 28-6 ¶ 5, and that its members

“would be at great risk of severe harm” resulting from “arrest, detention, and removal from the

United States,” id. ¶ 6, it does not identify how CTU itself, as opposed to its members, would be

harmed. Likewise, ISD and Somos identify risks to their members, but none to themselves. See

ECF No. 28-7 ¶¶ 5–6; ECF No. 28-8 ¶¶ 5–6. Plaintiffs are primarily educational entities not

focused on protecting tax return information or even challenging immigration enforcement. See

ECF Nos. 28-6, 28-7, 28-8. At most, the organizations advocate for enhanced immigrant rights in

the workplace. See ECF Nos. 28-6 ¶ 1, 28-7 ¶ 1, 28-8 ¶ 1. A theoretical release of tax return

information to DHS would not hamper any of Plaintiffs’ educational initiatives or their ability to

advocate, even through impact litigation for workers’ rights. At most, the alleged future action



                                                14
      Case 1:25-cv-00677-DLF           Document 30         Filed 04/07/25      Page 21 of 30




Plaintiffs seek to stop would be “a setback to [their] abstract social interests,” which is

insufficient to confer organizational standing. EPIC, 928 F.3d at 100–01. Moreover, the

perceived harms that Plaintiffs allege are caused by disclosures are caused by the IRS’s

compliance with Section 6103(i)(2) and not the MOU. Plaintiffs are not challenging the

legitimacy of the statute or the exception. They merely assume the IRS will violate it.

               B. No Cause of Action Under APA

       If a plaintiff is adversely affected by the action of a federal agency, the APA provides for

judicial review of “final agency action for which there is no other adequate remedy in a court.” 5

U.S.C. § 704; see also 5 U.S.C. § 702.

                 1. The MOU Is Not an Agency Action, Much Less a Final Agency Action

       Final agency action is “the consummation of the agency’s decisionmaking process” and

marks when “rights or obligations have been determined, or from which legal consequences will

flow.” United States Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 597 (2016). An agency

action “includes the whole or a part of an agency rule, order, license, sanction, relief, or the

equivalent or denial thereof.” 5 U.S.C. § 551(13). While broad, that definition is “not so all-

encompassing as to authorize [courts] to exercise judicial review [over] everything done by an

administrative agency.” Indep. Equip. Dealers Ass’n v. EPA, 372 F.3d 420, 427 (D.C. Cir. 2004)

(Roberts, J.). As the Fourth Circuit has explained, “[t]he term ‘action’ as used in the APA is a

term of art that does not include all conduct such as, for example, constructing a building,

operating a program, or performing a contract. Rather, the APA’s definition of agency action

focuses on an agency’s determination of rights and obligations.” Vill. of Bald Head Island v.

Army Corp of Eng’rs, 714 F.3d 186, 193 (4th Cir. 2013), aff’g 833 F. Supp. 2d 524, 532

(E.D.N.C. 2011) (finding that agency letters did not constitute agency action).



                                                  15
      Case 1:25-cv-00677-DLF           Document 30       Filed 04/07/25      Page 22 of 30




       The signing of an MOU between DHS and the IRS is not an agency action. It is merely a

technical framework for future information sharing between the two agencies—the anticipation

of agency action rather than agency action itself. See Fund for Animals, Inc. v. U.S. Bureau of

Land Mgmt., 460 F.3d 13 (D.C. Cir. 2006). There was no “determination of rights or

obligations,” Village of Bald Head Island, 714 F.3d at 193, upon the agencies signing the MOU:

the IRS has always been required to provide nontaxpayer return information to DHS if the

request complied with Section 6103(i)(2). The signing of the MOU is also not a determination of

rights or obligations because it is only parroting the IRS’s preexisting statutory obligations under

Section 6103.

       If the MOU is any kind of agency action, it is a statement of general applicability and

future effect designed to implement policy—which the APA terms a rule. See 5 U.S.C. § 551(4).

But it is not a rule subject to notice-and-comment review. Statements of policy need not go

through that process. See 5 U.S.C. § 553(b)(A). See also, e.g., Syncor Int’l Corp. v. Shalala, 127

F.3d 90, 93 (D.C. Cir. 1997). And the only way to characterize the MOU is as a general

statement of policy.

       An agency’s statement of policy “does not seek to impose or elaborate or interpret a legal

norm. It merely represents an agency position with respect to how it will treat—typically

enforce—the governing legal norm.” Syncor Int’l, 127 F.3d at 94. Here, the MOU confers no

rights on DHS it did not already have. It merely sets out the process by which DHS may request

information under § 6103(i)(2). Thus, the MOU does not seek to impose or elaborate on the

statute’s requirements. It simply restates them and reaffirms DHS’s obligation to treat properly

any return information it receives. See MOU ¶¶ 5-6, 9. The IRS retains the right to reject any

request from DHS that does not meet the statutory requirements. Id. ¶ 5(B). And if DHS’s



                                                16
      Case 1:25-cv-00677-DLF           Document 30        Filed 04/07/25      Page 23 of 30




request meets the statutory requirements, the IRS must comply, but not because of the MOU. It

must do so because the language in Section 6103(i)(2) is mandatory. The Secretary of the

Treasury “shall disclose return information (other than taxpayer return information)” to non-

Treasury employees upon a proper request. § 6103(i)(2)(A) (emphasis added). Accordingly, the

IRS has not bound itself to a particular legal position for any specific case, meaning that the

MOU is no more than a policy statement. See Syncor Int’l, 127 F.3d at 94.

                 2. Affected Taxpayers Have an Adequate Legal Remedy

       An adequate remedy need not be identical to APA relief. See Citizens for Responsibility

& Ethics in Washington v. DOJ, 846 F.3d 1235, 1245 (D.C. Cir. 2017). A remedy is considered

“adequate” when there is legislative intent to “create a special, alternative remedy and thereby

bar APA review.” Id. at 1244. When a statute offers “an independent cause of action or an

alternative review process,” courts have found the remedy adequate. Id. at 1245 (quoting El Rio

Santa Cruz Neighborhood Health Center v. HHS, 396 F.3d 1265, 1270 (D.C. Cir. 2005)). See

also Bowen v. Massachusetts, 487 U.S. 879, 903 (1988) (“§ 704 ‘does not provide additional

judicial remedies in situations where the Congress has provided special and adequate review

procedures.’”). If a plaintiff has an adequate legal remedy, it cannot state a cause of action under

the APA. See Perry Capital LLC v. Mnuchin, 864 F.3d 591, 620-21 (D.C. Cir. 2017).

       APA review is inappropriate because Congress has created a specific legal remedy for

unauthorized disclosures of tax return information—Section 7431. Under Section 7431, a

taxpayer whose tax return information has been unlawfully released is entitled to $1,000 per

disclosure or actual damages. There is no indication in the statutory text that Congress intended

to permit any other remedy for violations of Section 6103. Therefore, if the IRS releases tax

return information to DHS, and if such disclosures violate Section 6103, then the affected

taxpayers can obtain relief through an independent cause of action under Section 7431. Plaintiffs

                                                 17
      Case 1:25-cv-00677-DLF           Document 30         Filed 04/07/25      Page 24 of 30




will no doubt argue that the legal remedy is inadequate because it does not stop the harm of

removal from the United States. But removal is a separate harm from unlawful disclosure. It also

comes as part of a separate legal process, distinct from the unlawful disclosure or from the APA.

Remedies for the harm of removal should be sought through immigration-related proceedings,

not the APA. See, e.g., Ardestani v. I.N.S., 502 U.S. 129, 133 (1991) (“Although immigration

proceedings are required by statute to be determined on the record after a hearing, we previously

have decided that they are not governed by the APA.” (citation omitted)). Thus, theoretical

future disclosures cannot be stopped under the APA.

               C. Equitable Relief is Inappropriate

       Plaintiffs also offer causes of action asking for “non-statutory review.” However,

equitable relief is “not available when a plaintiff has an adequate legal remedy” that is as

efficient as equity, both in respect to the final relief and in the mode of obtaining it. FDIC v.

Bank of Am., N.A., 308 F. Supp. 3d 197, 202 (D.D.C. 2018). Here, as explained above, Congress

created an adequate remedy at law specifically for unlawful disclosures. Section 7431 of the

Internal Revenue Code provides a legal cause of action to a person whose tax return or return

information is unlawfully disclosed. See Sierra Club v. Trump, 929 F.3d 670, 697 (9th Cir. 2019)

(internal citations omitted) (“Congress may…limit a court’s equitable power to enjoin acts

violating federal law…where Congress has demonstrated an ‘intent to foreclose’ that form of

relief….”). See also Dalton v. Specter, 511 U.S. 462, 477 (1994) (“The judicial power of the

United States conferred by Article III of the Constitution is upheld just as surely by withholding

judicial relief where Congress has permissibly foreclosed it, as it is by granting such relief where

authorized by the Constitution or by statute.”). And as explained above, removal is too remote

from the act of disclosing tax return information to be cognizable as a harm in this suit, so it also



                                                  18
      Case 1:25-cv-00677-DLF               Document 30         Filed 04/07/25    Page 25 of 30




cannot form the basis of an equitable cause of action. The remedy for any immigration harm

should be sought in an immigration-related proceeding.

           Thus, equitable relief is not available to Plaintiffs.

     II.       There Is No Irreparable Harm

           Plaintiffs cannot demonstrate irreparable harm if the preliminary injunction is denied. As

discussed above, they have not shown any concrete, impending harm, let alone an irreparable

one. In some cases, aliens can be charged with criminal offenses, and accordingly, disclosure of

tax return information under Section 6103(i) could be required. See, e.g., 8 U.S.C. § 1253(a).

Plaintiffs acknowledge as much in their complaint. See ECF No. 17 ¶ 46. But “[c]ourts will not

issue injunctions against administrative officers on the mere apprehension that they will not do

their duty or will not follow the law.” Waite v. Macy, 246 U.S. 606, 609 (1918). See also NLRB

v. Express Pub. Co., 312 U.S. 426, 435-36 (1941) (“[T]he mere fact that a court has found that a

defendant has committed an act in violation of a statute does not justify an injunction broadly to

obey the statute and thus subject the defendant to contempt proceedings if he shall at any time in

the future commit some new violation unlike and unrelated to that with which he was originally

charged.”). The MOU between DHS and the IRS reiterates that the IRS will only release

information if a request is submitted in compliance with § 6103(i)(2). There is thus no imminent,

concrete harm to plaintiffs or their members.

           In any event, any theoretical harm is also not irreparable. As explained above, Section

7431 creates a cause of action for monetary damages to rectify any harm caused by unlawful tax

return disclosures.

    III.       Balance of the Equities and Public Interest

           Plaintiffs claim that the balance of the equities weighs in favor of granting the injunction

because there is no harm or injury if the Government is enjoined from releasing tax return

                                                      19
      Case 1:25-cv-00677-DLF           Document 30        Filed 04/07/25      Page 26 of 30




information. That is patently untrue—Plaintiffs’ proposed relief is so broad, it would stop, or at

least chill, lawful disclosure requests under Section 6103(i) and potentially hamper lawful

criminal investigations.

       The MOU reiterates that the IRS will only release nontaxpayer return information to

DHS if the requests comply with Section 6103(i)(2). The language of Section 6103(i)(2) does not

give the IRS any discretion to reject a lawful request. As a result, Plaintiffs’ Motion, which

purports to stop illegal activity, is asking the Court for an Order that would instruct the IRS to

violate the law as the proposed injunctions would prevent the IRS from complying with its

statutory obligations under Section 6103. The proposed preliminary injunction would place a

complete stop on any information sharing between the Defendants absent a court order or unless

the Defendants meet the Plaintiffs’ flawed interpretation of Section 6103(i)(2).5 The Government

and the public also have an interest in the efficient progress and resolution of criminal

investigations. These factors should weigh against issuing the preliminary injunction.

    IV.    The Court Should Limit Any Preliminary Injunction to the Plaintiffs and their
           Members

       No relief is warranted in this case. But if the Court decides to grant a preliminary

injunction, it should limit the injunction’s scope to Plaintiffs and their members. A “plaintiff’s

remedy must be limited to the inadequacy that produced his injury in fact.” Gill v. Whitford, 585

U.S. 48, 66 (2018) (quoting Lewis v. Casey, 518 U.S. 343, 357 (1996) (internal quotation marks

and brackets omitted)). It is “improper” to “gran[t] a remedy beyond what [is] necessary to




5
 The proposed preliminary injunction prohibits information sharing “for the purpose of
obtaining or confirming the identity or location of an individual.” There is nothing in Section
6103(i)(2) that prohibits information sharing for this purpose if all the requirements of the
exception are met.

                                                 20
      Case 1:25-cv-00677-DLF           Document 30        Filed 04/07/25       Page 27 of 30




provide relief” to the plaintiffs. Lewis, 518 U.S. at 360. Likewise, injunctive relief “should be no

more burdensome to the defendant than necessary to provide complete relief to the plaintiffs.”

Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (stating “general rule”) (internal

quotation marks omitted).

       A broad, universal injunction here would contravene both the plaintiff-side and

defendant-side principles that an injunction should be tailored to the injury. First, a universal

injunction is not appropriate because it would afford relief to individuals who were not plaintiffs

in the lawsuit or members of a class, and whom the Court should therefore not consider in

crafting relief. See Lewis, 518 U.S. at 358. And universal relief is not necessary to provide relief

to members of CTU, ISD, and Somos. Each of those organizations presumably maintains a

members list, and the Court could narrowly tailor any relief to the Plaintiffs’ members. Because

CTU, ISD, and Somos seek associational standing, their harm is derivative.6

       Second, a universal injunction would impose substantial and unnecessary costs on the

government. Section 6103(i)(2) permits the disclosure of return information in certain

circumstances. Broader relief than necessary would impinge on the government’s proper role in

investigating and prosecuting crimes, including immigration crimes.

       In addition to being unnecessary, a universal injunction is poor policy. Nationwide relief

circumvents the procedural rules on class actions. See Fed. R. Civ. P. 23; see also Califano v.

Yamasaki, 442 U.S. 682, 702-03 (1979) (observing that nationwide relief can be obtained by an




6
  IAC may argue that it needs a universal injunction to remedy its harm because it does not know
who its future clients might be. See ECF No. 28-12 ¶¶ 8 (discussing demand for services), 9
(discussing potential borrowers). That only highlights that IAC lacks a concrete, traceable injury.
The effects of the MOU on IAC will depend on the independent decisions and actions of those
future clients, who are third parties to this case.

                                                 21
       Case 1:25-cv-00677-DLF          Document 30        Filed 04/07/25      Page 28 of 30




appropriately certified nationwide class). Universal injunctions encourage forum shopping. Dep’t

of Homeland Sec. v. New York, 140 S. Ct. 599, 600-01 (Jan. 27, 2020) (Gorsuch, J., concurring in

stay). And they mean that the stakes in litigation “are asymmetric,” because while plaintiffs can

gain relief by winning in any case, the government must every case to implement a new action.

Id.

       The Court should limit any injunction to Plaintiffs and their members.

      V.      The Government is Entitled to a Bond if a Preliminary Injunction is Issued.

       If the Court grants Plaintiffs’ Motion and issues a preliminary injunction, the United

States requests that Plaintiffs first be required to post a bond to cover “costs and damages

sustained [if the United States is later] found to have been wrongfully enjoined or restrained.”

Fed. R. Civ. P. 65(c). Courts have broad discretion to “determine the appropriate amount of an

injunction bond.” P.J.E.S. v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (Sullivan, J.). See

also Delta Sigma Theta Sorority, Inc. v. Allen Professional Graphics Grp., LLC, 212 F. Supp. 3d

116, 122 (D.D.C. 2014) (setting a bond under Fed. R. Civ. P. 65(c) at $5,000) (Lamberth, J.);

Delta Sigma Theta Sorority, Inc. v. Bivins, 215 F. Supp. 3d 17, 22 (D.D.C. 2013) (Howell, J.)

(setting a bond under Fed. R. Civ. P. 65(c) at $5,000). Bonds serve both to “compensate

defendants who were mistakenly enjoined” and “force plaintiffs to ‘think carefully’ before

accepting interlocutory relief.” Boynes v. Limetree Bay Ventures, LLC, 110 F.4th 604, 611 (3d

Cir. 2024).

       Thus, if Plaintiffs’ Motion is granted, the United States asks this Court to first require

Plaintiffs to post a bond under Fed. R. Civ. P. 65(c) in an amount reasonable under the

circumstances of the case. If the Court finds the Defendants are entitled to an injunction, it

should also require a bond, and the Defendants ask for 48 hours to submit supplemental briefing

on an appropriate amount.

                                                 22
      Case 1:25-cv-00677-DLF            Document 30        Filed 04/07/25       Page 29 of 30




                                      MOTION TO DISMISS

       The United States also requests that the Court dismiss Plaintiffs’ complaint under Fed. R.

Civ. P. 12(b)(1), for lack of subject matter jurisdiction, and 12(b)(6), for failure to state a claim.

       Plaintiffs lack subject matter jurisdiction to bring this suit because they lack standing.

Kareem v. Haspel, 986 F.3d 859, 865 (D.C. Cir. 2021) (“[S]tanding is a threshold jurisdictional

issue.”). As discussed above, Plaintiffs do not meet the fundamental standing requirement of

being injured. Davis, 554 U.S. at 733. Plaintiffs cannot demonstrate either organizational or

associational standing.

       Furthermore, they cannot state a claim for relief under the APA or under a non-statutory

theory. APA review is unavailable because there is no final agency action. The information

sharing agreement between DHS and the IRS that the Plaintiffs highlight as the basis of their

complaint echoes the IRS’s statutory obligations under Section 6103(i)(2). The MOU provides a

framework for the process for DHS to make information requests already contemplated under the

Internal Revenue Code and for the IRS to respond to those requests. But it does not change the

requirements Section 6103(i)(2) imposes for what information DHS must submit, the legal

standard DHS’s request must meet, or the return information that the IRS must disclose in

response. No rights or obligations have been determined through the MOU’s signing. Taxpayers

have another adequate legal remedy if there is an unlawful release of tax return information—

they can sue for unlimited damages under Section 7431. This Court should also deny Plaintiffs’

request for equitable relief because there is a clear statutory remedy. Congress instead created an

avenue for taxpayers to receive compensation in the rare event that their return information was

unlawfully disclosed. Therefore, for the reasons described here and above on pages seven

through eighteen, the complaint should be dismissed.



                                                  23
      Case 1:25-cv-00677-DLF           Document 30         Filed 04/07/25      Page 30 of 30




                                          CONCLUSION

       Plaintiffs lack the basic jurisdictional requirements to bring a suit. Plaintiffs are not

entitled to a preliminary injunction largely because they cannot succeed on the merits of their

claim—they lack standing and cannot state a claim for relief. There is also no irreparable harm,

and a balance of the equities and the public interest weigh against granting a preliminary

injunction. Thus, the United States asks for the Court not only to deny Plaintiffs’ motion for a

preliminary injunction, but to dismiss their case.

Date: April 7, 2025

                                                      /s/ Andrew J. Weisberg
                                                      Joseph A. Sergi (D.C. Bar No. 480837)
                                                      Senior Litigation Counsel

                                                      Andrew J. Weisberg (N.Y. Bar No. 5616321)
                                                      Trial Attorney
                                                      Tax Division
                                                      U.S. Department of Justice
                                                      P.O. Box 14198
                                                      Washington, DC 20044
                                                      Telephone: (202) 305-0868
                                                      Joseph.A.Sergi@usdoj.gov

                                                      Counsel for Defendants



                                 CERTIFICATE OF SERVICE

       I certify that on April 7, 2025, I filed the foregoing Opposition to Plaintiffs’ Motion for

Preliminary Injunction and Motion to Dismiss the Amended Complaint with the Clerk of Court

using the CM/ECF system, which will serve counsel for Plaintiffs.


                                                       /s/ Andrew J. Weisberg
                                                       Andrew J. Weisberg
                                                       Trial Attorney, Tax Division
                                                       U.S. Department of Justice


                                                 24
